             CASE 0:21-cr-00108-PAM-TNL Doc. 1 Filed 05/06/21 Page 1 of 4




                          UMTED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

                                                     ck    ?.t.,og fAm/rruu
 LINITED STATES OF AMERICA"                          INDICTMENT

                       Plaintiff.                    18 U.S.C. S 242
                                                     18 U.S.C. $ 2
        v.

 DEREK MIC}IAEL CHAWIN.
 TOU TIIAO,
 J. ALEXANDER KUENG, and
 THOMAS KIERNAN LANE.

                       Defendants.

       THE LINITED STATES GRAND JURY CHARGES THAT:

                               GENERAL ALLEGATIONS

At all times relevant to this Indictment:

       1.       Defendant Derek Chauvin was employed             as   a Minneapolis Police
Department (X/PD) officer, and had held that position for more than 18 years.

       2.       Defendant Tou Thao was employed as a Minneapolis Police Department

officer, and had held that position for more than eight years.

       3.       Defendant J. Alexander Kueng was employed as a Minneapolis Police

Department officer. He began working as an MPD officer in December 2019.

       4.       Defendant Thomas Lane was employed as a Minneapolis Police Department

officer. He beean workine    as an   MPD officer in December 2019.

       5.      'George Flovd was a 46-vear-old resident of St. Louis Park. Minnesota.




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              CASE 0:21-cr-00108-PAM-TNL Doc. 1 Filed 05/06/21 Page 2 of 4

United States v. Derek Michael Chauvin et. al.



         6.      Paragraphs      1   through 5 of this Indictment are realleged and incorporated into

each count as though       fully set forth therein.

                                                 COUNT     1
                             (Deprivation of Rights Under Color of Law)

         On or about May 25,2020, in the State and District of Minnesota, the defendant,

                                     DEREK MICHAEL CHAUVIN"

while acting under color of law, and while aided and abetted by officers known to the grand

jury, willfully deprived             George Floyd    of the right, secured and protected by       the

Constitution and laws of the United States, to be free from an unreasonable seizure, which

includes the right to be free from the use of unreasonable force by a police officer.

Specifically, Defendant Chauvin held his left knee across George Floyd's neck, and his

right knee on Floyd's back and arm, as George Floyd lay on the ground, handcuffed and

unresisting, and kept his knees on Floyd's neck and body even after Floyd became

unresponsive. This offense resulted in bodily injury to, and the death          of George Floyd.

        All in violation of Title        18, United States Code, Sections 242 and2.

                                                 COUNT     2
                             (Deprivation of Rights Under Color of Law)

         On or about May 25,2020, in the State and District of Minnesota, the defendants,

                                             TOU THAO and
                                        J. ALEXANDER KUENG,

while acting under color of law, willfully deprived George Floyd of the right, secured and

protected by the Constitution and laws ofthe United States, to be free from an unreasonable

seizure. Specifically, Defendants Kueng and Thao were aware that Defendant Chauvin
            CASE 0:21-cr-00108-PAM-TNL Doc. 1 Filed 05/06/21 Page 3 of 4

United States v. Derek Michael Chauvin et. al.



was holding his knee across George Floyd's neck as Floyd lay handcuffed and unresisting,

and that Defendant Chauvin continued to hold Floyd to the ground even after Floyd became

uffesponsive, and the defendants willfully failed to intervene to stop Defendant Chauvin's

use of unreasonable        force. This offense resulted in bodily injury to,   and the death of,

George Floyd.

         All in violation of Title      18, United States Code, Section242.

                                                 COUNT 3
                             (Deprivation of Rights Under Color of Law)

         On or about May 25,2020, in the State and District of Minnesota, the defendants,

                                   DEREK MICHAEL CHAUVIN,
                                          TOU THAO,
                                   J. ALEXANDER KUENG, and
                                    THOMAS KIERNAN LAIIE,

while acting under color of law, willfully deprived George Floyd of the right, secured and

protected by the Constitution and laws of the United States, not to be deprived of liberly

without due process of law, which includes an arrestee's right to be free from a police

officer's deliberate indifference to his serious medical needs. Specifically, the defendants

saw George Floyd lyitrg on the ground in clear need of medical cate, and         willfully failed

to aid Floyd, thereby acting with deliberate indifference to a substantial risk of harm to

Floyd. This offense resulted in bodily injury to, and the death of, George Floyd.
            CASE 0:21-cr-00108-PAM-TNL Doc. 1 Filed 05/06/21 Page 4 of 4

United States v. Derek Michael Chauvin et. al.



        All in violation of Title       18,   United States Code, Section242.




                                                 A TRUE BILL




W. ANDERS FOLK                                             FOREPERSON
ACTING I.INITED STATES ATTORNEY

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